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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SYMBOLOGY INNOVATIONS, LLC.,                )
                                            )
        Plaintiff,                          ) Case No.: 1:17-cv-00253
                                            ) Honorable Amy J. St. Eve
v.                                          )
                                            )
PAPER SOURCE, INC.                          )
                                            )
        Defendants.                         )

                JOINT MOTION TO DISMISS PURSUANT TO RULE 41

        COMES NOW the parties, by and through their counsel, and pursuant to

Rule 41 of the Federal Rules of Civil Procedure, hereby move to dismiss all

claims with prejudice. The parties have agreed that each party will bear its own

fees and costs.



Dated: April 27, 2017                       Respectfully Submitted,

_/s/ Jean G. Vidal-Font (with permission)   /s/ Jonathan G. Musch
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                               CERTIFICATE OF SERVICE

        The undersigned certifies that on April 27, 2017, a true and correct copy of the

above document was filed with the Clerk of Court via the Court’s ECF System, and
served on all counsel of record.


                                                 /s/Jonathan G. Musch




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